Maile Tavepholjalern
Hannah M. Payne
EARTHJUSTICE
441 W 5th Avenue Suite 301
Anchorage, AK 99501
T: 907.277.2500
E: mtave@earthjustice.org
E: hpayne@earthjustice.org

Attorneys for Plaintiffs Orutsararmiut Native Council; Tuluksak Native Community; and
Organized Village of Kwethluk.

                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

ORUTSARARMIUT NATIVE COUNCIL;                    )
TULUKSAK NATIVE COMMUNITY; and                   ) Case No. 3:23-cv-00071-HRH
ORGANIZED VILLAGE OF KWETHLUK;                   )
                                                 )
               Plaintiffs,                       )
                                                 )
        v.
                                                 )
UNITED STATES ARMY CORPS OF                      )
ENGINEERS; UNITED STATES BUREAU OF )
LAND MANAGEMENT; UNITED STATES                   )
DEPARTMENT OF THE INTERIOR;                      )
COLONEL DAMON DELAROSA, in his                   )
official capacity as Commander, Alaska District, )
United States Army Corps of Engineers; LAURA )
DANIEL-DAVIS, in her official capacity as        )
Principal Deputy Assistant Secretary, Land and   )
Minerals Management, United States Department )
of the Interior; STEVEN COHN, in his official    )
capacity as State Director, Bureau of Land       )
Management, Alaska,                              )
                                                 )
               Defendants.                       )
                                                 )

        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     (5 U.S.C. §§ 701-706; 42 U.S.C. § 4332; 16 U.S.C. § 3120; 33 U.S.C. § 1344)




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                                    INTRODUCTION

       1.       This case challenges the final environmental impact statement (FEIS) for

the Donlin Gold Mine project (“Donlin project”) and various authorizations made

pursuant to it. Plaintiffs Orutsararmiut Native Council, Tuluksak Native Village, and

Organized Village of Kwethluk (the Tribes) bring this case under the National

Environmental Policy Act (NEPA), 42 U.S.C. § 4332; the Alaska National Interest Lands

Conservation Act (ANILCA), 16 U.S.C. § 3120; and the Clean Water Act, 33 U.S.C. §

1344. The Tribes challenge the FEIS and the joint record of decision (JROD) issued by

Defendants, the permit issued by the U.S. Army Corps of Engineers (Corps) allowing

filling of wetlands, and a right-of-way authorization for a pipeline issued by the U.S

Bureau of Land Management (BLM) and the U.S. Department of the Interior.

       2.       Development of the Donlin project would harm the Kuskokwim River and

its surrounding lands and waters. The Tribes, their citizens, relatives, and social relations

have relied on these lands and waters since time immemorial, and continue to do so, for

food, drinking water, culture, ceremony, passing on language and traditions, and other

uses. Mine development would limit subsistence uses and imperil ecosystems and

fisheries in the Kuskokwim River and its surrounding lands and waters, with impacts on

people and communities throughout the Yukon-Kuskokwim region. Mine development

would introduce the risk of catastrophic tailings or chemical spills. It would also increase

the risk of death and injury from barging accidents by tripling the number of barges on



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the Kuskokwim River, with each barge for the Donlin project up to four times as large as

current barges.

       3.       The Donlin project as approved by the Corps, BLM, and the U.S.

Department of the Interior would constitute the largest pure gold mine in the world. It

would introduce industrial-scale mining to the Kuskokwim River basin. A 316-mile

buried natural gas pipeline, crossing nearly 100 miles of BLM-managed lands and

hundreds of streams and rivers including the middle fork of the Kuskokwim River, would

power mining operations. Barges would carry cyanide, diesel, and other cargo to a new

port by the mine site and remove canisters of mercury and mercury-loaded carbon. The

Donlin project’s industrial mining activities include dewatering more than a thousand

acres of wetlands and a salmon-bearing stream, filling thousands of acres of wetlands,

damming additional fish-producing streams and filling others with tailings, excavating

waste rock and ore, crushing and grinding ore, and using heat and cyanide to separate

gold from mercury.

       4.       The mine would require construction of a 471-foot high earthen tailings

dam to hold up to 568 million tons of tailings. It is foreseeable that a catastrophic failure

could occur, releasing 20 to 40 percent of the tailings capacity. Despite this risk, the

Corps and BLM never examine it. Both agencies consider a spill of just 0.5 percent of

the tailings capacity. This failure violates NEPA and ANILCA and infects the Corps’

environmental analysis and BLM’s analysis of subsistence impacts.


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       5.       The Corps also downplays the risks to human health in the FEIS. It never

discloses the health analysis by the state public health authority that found serious health

concerns with the Donlin project. Instead, for negative health effects identified by the

state public health authority, the Corps generally downgrades their severity or discounts

their likelihood. The Corps rates positive impacts as similarly positive or more positive.

       6.       The FEIS also predicts significant negative impacts from Donlin’s barges to

Kuskokwim River rainbow smelt—an important subsistence and prey species. Clean

Water Act section 404 requires the Corps to prevent these predicted impacts. But the

Corps does nothing to mitigate them. It instead relies on procedural measures such as

collecting baseline information, having meetings and committees, and notifying

communities of incoming barges.

       7.       By failing to examine a catastrophic tailings spill or disclose the contrary

findings of the state health authority about the human health impacts of the Donlin

project, the FEIS and JROD do not provide sufficient information to enable informed

decision-making, public participation, or meaningful tribal consultation. The Corps’

reliance on basic monitoring, committees, and communication fails to adequately protect

Kuskokwim River rainbow smelt and other important subsistence and environmental

resources.

                 JURISDICTION, RIGHT OF ACTION, AND VENUE

       8.       This court has jurisdiction under 28 U.S.C. § 1331 (federal question),



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28 U.S.C. § 1346 (civil actions against United States), and 28 U.S.C. § 1362 (civil actions

by federally recognized tribes). It may issue a declaratory judgment and further relief

under 28 U.S.C. §§ 2201-2202. Judicial review is available under the Administrative

Procedure Act, 5 U.S.C. § 701-706.

       9.       Venue is proper under 28 U.S.C. § 1391(e).

                                       PLAINTIFFS

       10.      Plaintiff Orutsararmiut Native Council (ONC) is a federally recognized

sovereign tribe. The ONC Tribal Council is the governing body of the Native Village of

Bethel and serves over 3,900 Tribal citizens. The Tribe’s mission includes promoting the

general welfare of the Tribe, preserving the Tribe’s traditional and cultural values, and

exercising tribal authority over resources through educational, economic, and social

development opportunities. The Tribe has passed a resolution opposing development of

the Donlin project.

       11.      Plaintiff Tuluksak Native Community is a federally recognized sovereign

tribe. The Tuluksak Village Council is the governing body for the Tuluksak Native

Community. The Tuluksak Native Community has inherent authority to protect and

preserve yuyaraq or the Yup’ik way of life, key components of which are well-being,

health and welfare, and food security. The Tribe has passed a resolution opposing the

development of the Donlin project.

       12.      Plaintiff Organized Village of Kwethluk is a federally recognized sovereign



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tribe. The Kwethluk IRA Council is the governing body for the Organized Village of

Kwethluk and serves about 1,300 Tribal citizens. The Tribe’s powers include fostering

and guarding Alaska Native ways of life and customs and providing for the common

good of the Tribe.

       13.    Citizens of the Tribes, their relatives, and their social relations reside along

the Kuskokwim River downstream of the Donlin project mine site and elsewhere

throughout the Yukon-Kuskokwim region. As their ancestors have done for thousands of

years, they use the Kuskokwim River, its banks and tributaries, and surrounding

wetlands, streams, lakes, and other water bodies and lands for: subsistence fishing,

hunting, and gathering; food preparation and food storage; drinking water; ceremony;

travel; trade; and passing on language and culture to future generations. Development of

the Donlin project—including intensive barging, an underground pipeline crossing

hundreds of streams and rivers, and storing and transporting chemicals, fuel, and waste—

will directly and irreparably harm these activities.

       14.    The Tribes monitor ecosystems and fisheries, and conduct cleanup of

contaminated sites. The Tribes educate their citizens, including youth, on issues relating

to natural resources. They advocate for policies on their citizens’ behalf, including for

policies that protect clean water, subsistence practices and the ecosystems they rely on,

and the culture and ways of life of the Tribes. The Tribes collaborate on these and related

issues with other tribes and tribal entities throughout the Yukon-Kuskokwim region. The


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Tribes, along with other tribes in the region, have formed regional tribal nonprofit

consortia—the Association of Village Council Presidents (AVCP) and the Yukon

Kuskokwim Health Corporation (YKHC)—to deliver social services and healthcare

services throughout the region. Both AVCP and YKHC have adopted resolutions

opposing the Donlin project. The Tribes’ organizational purposes are frustrated by

Defendants’ failure to provide required information and to comply with the law when

analyzing and authorizing the Donlin project.

       15.    The Tribes have participated in multiple administrative processes relating

to the Donlin project. They have submitted comments on the draft environmental impact

statement (DEIS) and on numerous other proposed actions relating to the mine. They

have met with federal agencies. They have met with state agencies when permitted.

They have served as consulting parties to the Donlin Programmatic Agreement under the

National Historic Preservation Act. The Tribes have organized and participated in

educational and informational opportunities to communicate with their members and the

public about the Donlin project. These efforts have included panels, op-eds, meetings,

surveys, responding to media inquiries, and community events. The Tribes have

exhausted administrative remedies for the decisions by Defendants. The Tribes seek

declaratory and injunctive relief preventing Defendants from proceeding with unlawful

actions that directly and irreparably harm the environment, subsistence, human health,

ways of life, and culture.


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                                     DEFENDANTS

       16.    Defendant Corps is a branch of the United States Army, part of the United

States Department of Defense. The Corps is authorized to issue permits for the discharge

of dredged or fill material into waters of the United States under section 404 of the Clean

Water Act. 33 U.S.C. § 1344(a). It is also responsible for regulating the building of

structures in, over, or under navigable waters under section 10 of the Rivers and Harbors

Act. 33 U.S.C. § 403.

       17.    Defendant BLM is an agency within the United States Department of the

Interior. It is responsible for managing federal public lands. Lands under the jurisdiction

of BLM include approximately 97 miles that would be crossed by a pipeline to power the

Donlin project.

       18.    Defendant United States Department of the Interior is responsible for

overseeing its agencies, including BLM, and helping to ensure they comply with federal

law and policy.

       19.    Defendant Colonel Damon Delarosa is sued in his official capacity.

Colonel Delarosa is the Commander for the Alaska District, Corps. His predecessor,

Colonel Michael Brooks, signed the JROD approving a Corps permit for the Donlin

project under section 404 of the Clean Water Act and section 10 of the Rivers and

Harbors Act and signed the Corps permit at issue in this case.

       20.    Defendant Steven Cohn is sued in his official capacity as the State Director



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for BLM, Alaska. His predecessor, Acting State Director Karen Mouritsen, signed the

JROD recommending approval of a right-of-way across BLM lands for the natural gas

pipeline and fiber optic cables for the Donlin project.

       21.     Defendant Laura Daniel-Davis is sued in her official capacity as Principal

Deputy Assistant Secretary, Land and Minerals Management, United States Department

of the Interior. Defendant Daniel-Davis currently is the highest-ranking individual in

Land and Mineral Management. Her predecessor, Assistant Secretary of the Interior for

Land and Minerals Management Joseph Balash, signed the JROD approving a right-of-

way across BLM lands for the natural gas pipeline and fiber optic cables for the Donlin

project.

                                          FACTS

       22.     The Kuskokwim River basin, located in the Yukon-Kuskokwim region in

remote southwest Alaska, comprises about 11 percent of Alaska’s land area. The Yukon-

Kuskokwim region is the traditional homeland of Yup’ik, Cup’ik, and Athabascan

people, including the Tribes and their ancestors. The Tribes’ ancestral lands and waters

encompass the Yukon-Kuskokwim Delta, including the Kuskokwim River, its tributaries,

and surrounding waters and lands. The Yukon-Kuskokwim region is the homeland today

of up to 58 federally recognized tribes. The region contains the greatest number of tribes

of any region in Alaska.

       23.     The Kuskokwim River, its tributaries, wetlands, and surrounding lands and



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waters continue to support numerous tribes, people, fish, wildlife, and plants. The Tribes

and others use water from the Kuskokwim River for drinking, cleaning fish, ceremony,

and other uses. All five species of Pacific salmon, sheefish, pike, whitefish, rainbow

smelt, and other aquatic species are found in the Kuskokwim River and its tributaries.

The Yukon Delta National Wildlife Refuge, located between the Yukon and Kuskokwim

rivers, is a flyway of hemispheric importance for migratory shorebirds important to

ecosystems and traditional and subsistence practices. It is also a flyway for numerous

migratory waterbirds important to ecosystems and traditional and subsistence practices.

Numerous native plants, including greens and berries, are located in the Kuskokwim

River basin. The Tribes’ citizens, their relatives, and their social relations harvest plants

along with migratory birds and their eggs for subsistence, cultural, and traditional uses.

They travel the Kuskokwim River and its tributaries to fish, hunt, recreate, visit relatives,

and trade. Communities from the mouth of the Kuskokwim to nearly 200 miles upriver

come to the Kuskokwim River to fish. The Tribes, their citizens, and ancestors have used

these resources for millennia for food, water, medicine, ceremony, and other purposes.

       24.     The Yukon-Kuskokwim region has limited industry. No roads lead into

the region. Travel into the region is typically by boat or plane. The Tribes already

contend with the effects of historic small-scale mining and exploration along with related

infrastructure. There is no industry in the Yukon-Kuskokwim region the size or scale of

the Donlin project. The Donlin project would be the first mine in the Yukon-Kuskokwim


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region to employ industrial-scale mining processes.

          25.   The Donlin project would be an open pit mine.

          26.   The Donlin project would be the largest pure gold mine in the United

States.

          27.   The Donlin project would be the largest pure gold mine in the world.

          28.   The Donlin project would be one of the largest gold mines in the world.

          29.   The construction and operation period for the Donlin project would be

more than 30 years. The construction phase for the Donlin project would last three to four

years. The operations phase for the Donlin project is estimated to last 27.5 years.

          30.   The Donlin project mine site would be powered largely by a 316-mile

underground pipeline. The pipeline would deliver natural gas from Cook Inlet through

the Alaska Range to the Donlin project. The pipeline would deliver natural gas produced

in Cook Inlet. Approximately 97 miles of pipeline would cross public lands managed by

BLM. The pipeline would cross beneath hundreds of streams and the middle fork of the

Kuskokwim River.

          31.   Donlin Gold, LLC (Donlin) has not specified where in Cook Inlet it will

source natural gas. Donlin has not contracted with a supplier of natural gas for the

Donlin project. Donlin has not identified a supplier of natural gas for the Donlin project.

          32.   Donlin barges would carry diesel, supplies for the mine, and mine waste.

Donlin would barge approximately 42 million gallons of diesel and 2,618 tons of cyanide


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annually. Donlin would barge approximately 11 tons of liquid mercury and 29 tons of

mercury-loaded carbon annually. Mercury is not currently used or transported in the

Kuskokwim River basin. Cyanide is not currently used or transported in the Kuskokwim

River basin. Donlin barges would traverse around 200 miles of the Kuskokwim River.

Donlin barges would make approximately 122 round trips on the river per open-water

season. This amounts to two to three Donlin barges passing per day. Donlin operations

would nearly triple the number of barges on the Kuskokwim River. Donlin barge tows

would be up to four times as large as current barge-tow configurations. The number of

barge trips would increase if barges need to be decoupled. Donlin’s barging would occur

at the height of the subsistence fishing, hunting, and gathering season.

       33.    Due to the microscopic nature of the gold at the mine site, Donlin would

need to excavate billions of tons of waste rock and ore to produce about 33 million

ounces of gold. This action would create two pits that eventually become a single pit. To

help prevent the pit walls from collapsing, Donlin must conduct extensive pumping to

dewater the pit.

       34.    A natural gas- and diesel-fired power plant would power much of Donlin’s

mine processing operations, including crushing, grinding, and chemically extracting the

gold. The Donlin power plant would be larger than that needed to power the city of

Fairbanks. The Donlin power plant would be larger than Anchorage’s Chugach Electric

Association’s Southcentral Power Project in Anchorage. During the project’s active life,


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it would be the largest mine emitter of greenhouse gases in Alaska. On a per capita basis,

Alaska is the fourth largest emitter of greenhouse gases in the nation.

       35.      After the project’s active life, the mine site would include the following

features:

             a. A waste rock mountain about four square miles in area.

             b. A 471-foot-high tailings dam that can hold 568 million tons of tailings.

             c. A pit lake holding contaminated water. The lip of the pit lake would be less

                than 0.25 miles from Crooked Creek. Crooked Creek is a tributary of the

                Kuskokwim River. The pit lake would receive tailings porewater, acid

                mine drainage from the waste rock mountain and other sources, runoff from

                the pit walls, and groundwater. Once the lake has filled, the pit lake would

                require pumping and treating in perpetuity. The purposes of perpetual

                pumping and treating are to prevent the pit lake from overtopping and to

                create a hydraulic sink to prevent off-site migration of contaminated

                groundwater. The pit lake would not be covered.

       36.      The Donlin project is operated by Donlin, a company incorporated under

Alaska state law. Donlin is owned 50-50 by two Canadian mining companies, Barrick

Gold Corporation and NOVAGOLD.

       37.      Surface rights at the Donlin project mine site are primarily owned by The

Kuskokwim Corporation (TKC) and leased to Donlin. TKC is a group of 10 for-profit


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village corporations that are authorized under the Alaska Native Claims Settlement Act

(ANCSA) and incorporated under Alaska state law.

       38.    Subsurface rights at the Donlin project mine site are owned by Calista

Corporation (Calista) and leased to Donlin. Calista is a regional for-profit corporation

authorized under ANCSA and incorporated under Alaska state law.

       39.    The Donlin project would cause significant, irreparable harm to the Tribes.

Development of the Donlin project directly endangers the health, safety, and welfare of

the Tribes and their citizens. This includes by curtailing access to healthy traditional and

subsistence foods, increasing the risk of accidental injury and death on the Kuskokwim

River, increasing exposure to potentially hazardous materials, increasing the rates of

sickness and death from chronic diseases, and decreasing access to health care in the

region.

       40.    The nearly 200 percent increase in barging would disrupt the use of the

Kuskokwim River for subsistence hunting and fishing. Donlin’s barging would increase

the risk of human accidents and could cause population-level impacts to Kuskokwim

River rainbow smelt, an important subsistence and forage species. In the last few years,

salmon populations across multiple species in both the Yukon and Kuskokwim rivers

have crashed. Mine operations would dewater, divert, and fill salmon spawning streams.

This would further deepen the negative effects of the ongoing salmon crashes in the

region. Mine operations would directly and indirectly contribute to the compounding


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effects of climate change, permafrost thaw, and erosion in the region. The barging of

toxic chemicals and mine waste and their storage at the mine site increases the risk of

contamination on the Kuskokwim River, its tributaries, and surrounding lands and waters.

These threats pose severe risks to drinking water, multiple traditional resources, the

Tribes’ culture, and the Tribes’ existence.

       41.    The Tribes, along with many other tribes, AVCP, and YKHC have

concluded that the risks to human health, traditional ways of life, and culture outweigh

the potential economic benefits of the mine.

                                 Procedural Background

       42.    In the late 2000s, Donlin announced its intent to apply for a Corps permit

under section 404 of the Clean Water Act and section 10 of the Rivers and Harbors Act.

By 2010, the Alaska Department of Health and Social Services (DHSS) elected to do a

comprehensive Health Impact Assessment (HIA) for the Donlin project. DHSS is the

state public health authority for Alaska. DHSS hired a contractor and enlisted tribal

health authorities, including YKHC, to assist it in completing the HIA. The goal of an

HIA is to provide information to decisionmakers by evaluating the potential positive and

negative health effects of a project, ranking the effects, and providing recommendations

on actions and monitoring for the highest-rated health impacts. The DHSS HIA would

cover Alaska’s eight standard health effect categories: (1) social determinants of health;

(2) accidents and injuries; (3) exposure to potentially hazardous materials; (4) food,


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nutrition, and subsistence; (5) infectious diseases; (6) chronic and non-communicable

diseases; (7) water and sanitation; and (8) health services infrastructure and capacity.

       43.    In 2012 Donlin applied for a Corps permit under section 404 of the Clean

Water Act and section 10 of the River and Harbors Act. In July 2012 and January 2013

Donlin applied to BLM for a right-of-way lease.

       44.    In 2013 the Corps requested the State of Alaska prepare an HIA.

       45.    In 2014 the Mount Polley tailings dam failed in British Columbia, Canada.

The dam failure released between 10 to 20 percent of the tailings dam’s capacity. The

failure released approximately 25 million cubic meters of tailings, water, and

construction materials. Portions of the lake beds of both Polley Lake and Quesnel Lake,

the largest fjord lake in the world and which flows to the Fraser River and the Pacific

Ocean, were buried by tailings. Tailings debris blocked fish passage. Since the disaster,

copper concentrations in waters associated with the spill have exceeded background

levels by an order of magnitude. Aquatic species living in waters affected by the spill

have higher concentrations of heavy metals than those that live in unaffected waters.

Long-term impacts of the Mount Polley tailings spill to the ecology of Quesnel Lake are

still unknown.

       46.    The Corps issued the DEIS for the Donlin project on November 27, 2015.

       47.    On May 24, 2016, the State of Alaska provided the most recent version of

the DHSS HIA to the Corps. The 2016 HIA finds serious concerns with chronic disease,


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food security and subsistence, and industry-related accidents, among others.

       48.     The Corps received more than 5,000 comments on the DEIS.

       49.     On May 31, 2016, the Environmental Protection Agency (EPA) sent a

Clean Water Act section 3(a) letter informing the Corps that the Donlin project “may”

cause substantial and unacceptable adverse effects to aquatic resources of national

importance, including the Kuskokwim River. On June 27, 2016, the EPA issued a Clean

Water Act section 3(b) letter informing the Corps that the Donlin project “will” cause

substantial and unacceptable adverse effects to aquatic resources of national importance,

including the Kuskokwim River. The EPA, however, declined to elevate the issue

further.

       50.     The Corps issued the FEIS for the Donlin project on April 27, 2018. It

included BLM’s final ANILCA section 810 analysis. The FEIS analyzed six action

alternatives, including Donlin’s proposed action. Three action alternatives would have

decreased barging from the level estimated in Donlin’s proposed action. One action

alternative would have reduced the consequences of a tailings failure by requiring dry

stack tailings. The Corps provided the public notice of the availability of the FEIS and

one month to review and submit comments on an updated compensatory mitigation plan.

Commenters submitted comments on the FEIS and the compensatory mitigation plan.

       51.     On August 13, 2018, representatives of the Corps, BLM, and the U.S.

Department of the Interior signed the JROD for the Donlin project. The District


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Commander for the Alaska District of the Corps signed the JROD, authorizing the

issuance of a Corps permit to Donlin. The Acting State Director for BLM, Alaska,

signed the JROD recommending issuance of a right-of-way to Donlin. The Assistant

Secretary of the Interior for Land and Minerals Management signed the JROD

authorizing issuance of a right-of-way to Donlin.

       52.    On August 13, 2018, the Alaska District Commander also signed a Corps

permit for Donlin authorizing activities under section 404 of the Clean Water Act and

section 10 of the Rivers and Harbors Act.

       53.    BLM offered Donlin a right-of-way lease. BLM made an offer of a right-

of-way lease to Donlin in August 2018. Donlin accepted BLM’s offer of a right of way

lease. BLM issued a right-of-way lease to Donlin.

       54.    Donlin has received the authorizations necessary for it to legally begin

construction of major components of the Donlin project.

       55.    Donlin has not yet begun construction of the mine. Donlin’s delay is due in

part to concerns regarding the price of gold. Donlin’s delay is also due to concerns about

the high cost of infrastructure.

                          FEIS – Flawed Tailings Spill Analysis

       56.    The FEIS includes Defendants’ environmental and subsistence analyses

under NEPA and ANILCA. The FEIS also contains some of the Corps’ environmental

analysis under the Clean Water Act.


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       57.    The FEIS considers the environmental impacts of a spill of 0.5 percent of

the tailings capacity of the Donlin project. It does not examine the environmental

impacts of a spill of any larger size.

       58.    The FEIS reasons that a catastrophic spill is “very unlikely.” The FEIS

classifies “very unlikely” events as having a probability of less than a 2 percent chance of

occurring over 20 years.

       59.    BLM’s ANILCA section 810 subsistence analysis is based on the FEIS

prepared by the Corps. BLM considered the subsistence impacts of a spill of 0.5 percent

of the total tailings capacity. BLM’s ANILCA section 810 analysis acknowledges that a

0.5 percent tailings spill would have major impacts to subsistence resources for the entire

Kuskokwim River watershed. BLM’s ANILCA section 810 analysis declines to find that

a 0.5 percent tailings spill would cause a significant restriction to subsistence uses.

BLM’s ANILCA section 810 analysis does not consider a catastrophic tailings dam spill.

                         FEIS - Flawed Human Health Analysis

       60.    The DEIS does not disclose the findings, conclusions, or recommendations

of DHSS’s 2016 HIA.

       61.    The FEIS includes an analysis of the human health impacts of the Donlin

project. The FEIS explains that its analysis follows State of Alaska and international

guidance on preparation of HIAs. The FEIS covers the same eight health effect

categories as the 2016 HIA. The FEIS also uses near-identical intensity and likelihood


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scales to rate health effects as the 2016 HIA.

       62.    The FEIS cites the 2016 HIA for baseline health information and

background references. The FEIS does not disclose that its human health conclusions

differ from the 2016 HIA’s findings, conclusions, and recommendations about the Donlin

project’s effects on human health.

       63.    The health impact findings of the FEIS are substantially more positive than

those of the 2016 HIA. In general, for health effects identified as negative in the 2016

HIA, the FEIS downgrades their severity or discounts their likelihood. For the few health

effects that the 2016 HIA identifies as a benefit, the FEIS provides a similar or elevated

positive rating or an increased likelihood of occurrence.

       64.    Under established State of Alaska guidance for conducting HIAs, intensity

and likelihood ratings are then combined into a single categorical importance rating. The

categorical importance ratings in the 2016 HIA and the FEIS range from Category 1

(least negative/beneficial) to Category 3 (most negative/beneficial). A Category 3

negative impact requires recommendations that decision-makers develop and implement

actions to reduce negative impacts. The 2016 HIA identifies the following four Category

3 negative impacts: increase in chronic non-communicable diseases and related deaths;

increase in injury and death due to surface and air transportation accidents; increase in

injury and death due to water transportation accidents; and decrease in percent of food

secure households and subsistence consumption. The FEIS identifies no negative health


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impacts as Category 3. The only Category 3 impacts the FEIS identifies are positive.

                           Kuskokwim River Rainbow Smelt

       65.    Kuskokwim River rainbow smelt are a small, anadromous subsistence fish.

Rainbow smelt are important to the Kuskokwim River, the Tribes, and other communities

that use the river and its surrounding lands and waters. Rainbow smelt are important as a

forage fish for other species relied upon for subsistence and other traditional uses. These

predator species include harbor seals, pike, sheefish, and others.

       66.    Kuskokwim River rainbow smelt return to the Kuskokwim River to spawn.

The Kuskokwim River rainbow smelt typically spawn in the Kuskokwim River

mainstem. The precise spawning location varies from year to year. The spawning period

for Kuskokwim River rainbow smelt occurs after breakup, usually in late May. The

spawning run for rainbow smelt typically lasts several days, lasting in any one location

for a few hours or a few days. Rainbow smelt eggs that spawn in late May typically

incubate for about 21 days. Rainbow smelt larvae then float out to the estuary.

       67.    Donlin intends to barge throughout the entire open-water season on the

Kuskokwim River. Naturally occurring Kuskokwim River low flows will limit Donlin

barge travel at times. Historically, June is the time of year when the Kuskokwim River

flows have been highest. The Corps has not required that Donlin stop barging for fishing

openers. Donlin has represented that it is unwilling to stop barging during fishing

openers. Nor has the Corps required stopping barging for the rainbow smelt spawning


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and incubation period in May and June.

       68.    Propeller wash from Donlin’s barges could kill or injure Kuskokwim River

rainbow smelt eggs and their larvae. Donlin barges’ propeller wash could also wash

Kuskokwim River rainbow smelt eggs downstream, preventing them from being

fertilized.

       69.    Had Donlin’s barges been running in 2015, they could not have avoided the

area in the Kuskokwim River where rainbow smelt spawned that year. That could have

resulted in population-level impacts to Kuskokwim River rainbow smelt.

              JROD Flaws Regarding Kuskokwim River Rainbow Smelt

       70.    The JROD acknowledges that there would be impacts to Kuskokwim River

rainbow smelt. Nevertheless the JROD concludes that there would be no significant

degradation to the Kuskokwim River. To find no significant degradation to the

Kuskokwim River, the JROD relies on a rainbow smelt monitoring program, Donlin’s

proposed barge communication plan, and subsistence and barging subcommittees to be

established under the Donlin Advisory Technical Review Committee (DATROC).

Members of the subcommittees would comprise community volunteers. DATROC is

made up of representatives of Donlin, Calista, and TKC.

       71.    Neither the monitoring program, the communication plan, nor the

DATROC subcommittees require adoption of any measures to reduce impacts to

Kuskokwim River rainbow smelt. They require monitoring, assessments, and


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communication, but not actual mitigation.

       72.    Donlin’s rainbow smelt monitoring plan requires collection of baseline data

for Kuskokwim River rainbow smelt like age structure, sex ratio, and possibly fecundity

of females. If changes are observed, Donlin’s plan requires additional monitoring to

determine the cause of the changes. If population changes could be attributed to Donlin-

project-related activities, Donlin would then do an “assessment” of possible measures to

address or mitigate those activities.

       73.    Donlin’s proposed barge communication plan involves notifying

communities about oncoming barges and meeting with communities about barging

impacts.

       74.    There is no legal requirement that Donlin create subsistence and barging

subcommittees. At most, the subcommittees can make a recommendation to the

DATROC.

                                         COUNT I

                           (National Environmental Policy Act—
               Failure to Assess Foreseeable Impacts of Tailings Dam Failure)

       75.    NEPA requires that federal agencies prepare an environmental impact

statement (EIS) for major federal actions that could significantly affect the quality of the

human environment. 42 U.S.C. § 4332(2)(C); 40 C.F.R. § 1508.11 (2018).1


1
 All citations to NEPA regulations reference those in place at the time the Corps
published the final EIS in 2018.

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       76.    NEPA requires that an EIS analyze and discuss the direct, indirect, and

cumulative impacts of agencies’ actions along with alternatives to the proposed action.

40 C.F.R. §§ 1502.16, 1508.7, 1508.8.

       77.    NEPA requires that an EIS examine significant adverse environmental

effects that are “reasonably foreseeable.” Id. §§ 1502.22, 1508.8(b), 1508.7. The term

“reasonably foreseeable” includes impacts that have “catastrophic consequences” even if

their probability of occurrence is low, “provided that the analysis of the impacts is

supported by credible scientific evidence, is not based on pure conjecture, and is within

the rule of reason.” Id. § 1502.22(b).

       78.    A tailings spill of more than 0.5 percent of the tailings dam capacity is

reasonably foreseeable. A tailings spill of between 20 to 40 percent of the tailings dam

capacity is reasonably foreseeable. Such a catastrophic spill would have a significant

adverse impact on the environment.

       79.    The FEIS does not examine a catastrophic tailings spill or provide

information about its impacts. The FEIS instead analyzes a partial spill of only 0.5

percent of the tailings capacity. The spill size of 0.5 percent was chosen with no

technical basis.

       80.    By failing to assess the reasonably foreseeable risk of a catastrophic spill,

the FEIS violates NEPA. 40 C.F.R. §§ 1502.16, 1502.22. The FEIS fails to provide

sufficient information to decisionmakers or the public to inform the choice of alternatives


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and mitigation. The FEIS and the resulting JROD, Corps permit, and right-of-way

authorization are arbitrary, capricious, and not in accordance with the law, and were

adopted without observance of procedure required by law. 5 U.S.C. § 706.

                                         COUNT II

                    (Alaska National Interest Lands Conservation Act—
               Failure to Assess Foreseeable Impacts of Tailings Dam Failure)

       81.    In ANILCA, Congress made a specific finding that the “continuation of the

opportunity for subsistence uses . . . is essential to Native physical, economic, traditional,

and cultural existence.” 16 U.S.C. § 3111(1). Congress also found that “the situation in

Alaska is unique in that, in most cases, no practical alternative means are available to

replace the food supplies and other items gathered from fish and wildlife which supply

rural residents dependent on subsistence uses.” Id. § 3111(2).

       82.    ANILCA section 810 requires that before allowing the use of federal lands,

federal land management agencies first evaluate the impacts to subsistence uses and

needs, consider alternatives, and then determine whether the action may cause a

significant restriction to subsistence uses. Id. § 3120(a).

       83.    If there may be a significant restriction to subsistence, then the agency must

give notice and hold hearings in the vicinity of communities that could be impacted and

make certain findings. Id.

       84.    A tailings spill of more than 0.5 percent of the tailings capacity is

reasonably foreseeable. A tailings spill of between 20 to 40 percent of the tailings

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capacity is reasonably foreseeable. Such a catastrophic spill would have a significant

adverse impact on subsistence uses. Such a spill would significantly restrict subsistence

uses.

        85.    BLM’s ANILCA section 810 analysis did not look at the subsistence

impacts of a catastrophic tailings spill. Like the FEIS, BLM’s ANILCA section 810

subsistence analysis considered a spill of 0.5 percent of the total tailings capacity.

        86.    By failing to assess the reasonably foreseeable risk of a catastrophic tailings

spill, BLM’s ANILCA section 810 analysis violates ANILCA. Id. BLM’s ANILCA

section 810 analysis provides insufficient information for required hearings and

consultation with tribes and provides an insufficient basis for an analysis of alternatives

and minimizing adverse impacts. BLM’s ANILCA section 810 analysis and the resulting

JROD and right-of-way authorization are arbitrary, capricious, and contrary to law and

were adopted without observance of procedure required by law. 5 U.S.C. § 706.

                                        COUNT III

                             (National Environmental Policy Act—
              Failure to Disclose Responsible Opposing Views on Health Impacts)

        87.    NEPA requires that an agency evaluate and consider significant adverse

effects of its action on the human environment. 42 U.S.C. § 4332(2)(C); 40 C.F.R.

§ 1502.16. The “human environment” includes the relationship of people with the

environment. 40 C.F.R. § 1508.14.

        88.    NEPA requires that an EIS contain a “full and fair” discussion of a

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project’s adverse environmental impacts. Id. § 1502.1. NEPA requires that the agency in

the DEIS make “every effort” to disclose and discuss major points of view about the

environmental impacts of action alternatives being considered. Id. § 1502.9(a).

       89.    NEPA requires that in the FEIS, the agency disclose and respond to “any

responsible opposing view” not adequately discussed in the DEIS. Id. § 1502.9(b).

       90.    DHSS’s analysis and findings of the human health impacts of the Donlin

project in the 2016 HIA constitute a responsible opposing view. The FEIS presents

substantially more positive views of health impacts than those presented in the 2016 HIA.

The FEIS does not disclose or respond to the more serious concerns of the 2016 HIA.

       91.    By failing to provide a full and fair discussion of the potential human health

impacts from the Donlin project, and by failing to disclose or respond to the responsible

opposing views presented in the 2016 HIA, the FEIS violates NEPA. Id.; id. §§ 1502.16,

1502.1. The FEIS provides an insufficient basis for the Corps’ human health

determinations, public interest findings, and environmental justice determinations. The

FEIS also provides an insufficient basis for the Corps’ consideration of and

determinations regarding alternatives and mitigation. The FEIS and the resulting JROD,

Corps permit, and right-of-way authorization are arbitrary, capricious, and contrary to

law, and were adopted without observance of procedure required by law. 5 U.S.C. § 706.

                                       COUNT IV

             (Clean Water Act—Significant Degradation of Aquatic Resources)



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         92.    The Clean Water Act prohibits issuance of a section 404 permit for

discharge of dredged or fill material if it would cause or contribute to significant

degradation of aquatic resources. 40 C.F.R. § 230.10(c).

         93.    The Clean Water Act requires that a finding of significant degradation be

based on factual findings about the project’s effects, including secondary effects. Id.; id.

§ 230.11.

         94.    The FEIS and JROD predict negative impacts to Kuskokwim River

rainbow smelt from Donlin barges’ propeller wash, including potential population-level

effects. These predicted impacts constitute significant degradation of the Kuskokwim

River.

         95.    The finding in the JROD of no significant degradation under the Clean

Water Act section 404 relies on procedural factors. It relies on monitoring, assessments,

and communication with no required action to prevent significant degradation.

         96.    For these reasons, the JROD and the resulting Corps permit violate Clean

Water Act section 404. Id. § 230.10(c). They are arbitrary, capricious, and contrary to

law. 5 U.S.C. § 706.

                                   PRAYER FOR RELIEF

         Plaintiffs respectfully request the Court:

         1.     Declare the FEIS, JROD, Corps permit, and right-of-way authorization

unlawful;



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      2.     Set aside and vacate the FEIS, JROD, Corps permit, and right-of-way

authorization;

      3.     Grant preliminary and permanent injunctive relief as needed;

      4.     Award Plaintiffs their reasonable costs, fees, and expenses, including

attorneys’ fees, under 28 U.S.C. § 2412; and

      5.     Grant such further relief the Court deems necessary and proper.

      Respectfully submitted this 5th day of April, 2023.

                          s/ Maile Tavepholjalern
                          Maile Tavepholjalern
                          EARTHJUSTICE
                          441 W 5th Avenue Suite 301
                          Anchorage, AK 99501
                          T: 907.277.2500
                          E: mtave@earthjustice.org

                          s/ Hannah M. Payne
                          Hannah M. Payne
                          EARTHJUSTICE
                          441 W 5th Avenue Suite 301
                          Anchorage, AK 99501
                          T: 907.277.2500
                          E: hpayne@earthjustice.org

                          Attorneys for Plaintiffs Orutsararmiut Native
                          Council; Tuluksak Native Community; and
                          Organized Village of Kwethluk.




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